Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 1 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 2 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 3 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 4 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 5 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 6 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 7 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 8 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 9 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 10 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 11 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 12 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 13 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 14 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 15 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 16 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 17 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 18 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 19 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 20 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 21 of 22
Case 2:20-bk-07495-DPC   Doc 184 Filed 09/01/22 Entered 09/01/22 16:14:19   Desc
                         Main Document    Page 22 of 22
